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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division


   ROBERT A. YERGOVICH,                                     )
       Plaintiff,                                           )
                     V.                                     )
                                                            )             Case No. 1:17-cv-865
  SMALL COMMUNITY SPECIALISTS                               )
   LLC,et a/.,                                              )
        Defendants.                                         )
                                                            )
                                          MEMORANDUM OPINION


           At issue on cross-motions for summaryjudgment in this Fair Debt Collection Practices Act

 (FDCPA)' case are the following questions^:

               (1) Does the complaint adequately allege the injury in fact required to confer
                   standing on plaintiff?
               (2) Are defendants—^the community manager of a home owner's association
                   and its parent entities—"debt collectors" under the FDCPA so as to be
                   subject to the Act's strictures?

           For the reasons that follow,(i) the complaint adequately alleges the requisite injury in fact

 and standing, but (ii) defendants do not qualify as "debt collectors" under the FDCPA and hence

 summary judgment must be granted in favor of defendants.

                                                             I.


           Summary judgment is appropriate where "the movant shows that there is no genuine

 dispute as to any material fact and the movant is entitled to judgment as a matter of law." Fed. R.



 '15 U.S.C. § 1692-1692p.
 ^ After conducting a hearing on defendants' motion to dismiss, an order issued, noting that "it [was] unclear on the
 current record (i) whether plaintiff suffered an injury in fact; and (ii) whether defendants were acting as 'debt
 collectors' when they sent the letters in question to plaintiff and the proposed class." Yergovich v. Small Community
 Specialists, LLC., et al.. No. 1:17-cv-00865-TSE-JFA, Order, EOF No. 28, at 8 (Jan. 23, 2018). As a result of the
 hearing on the motion to dismiss, the parties were ordered to engage in limited discovery and file summary judgment
 briefs regarding these potentially dispositive threshold issues. Id. Both parties complied with the order and filed cross-
 motions for summary judgment on these issues.

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